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Rev. 3/2010

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERICA )
vs. Criminal Case No.: 21-056 (CKK)
)
WILLIAM VOGEL
)
WAIVER OF INDICTMENT
L, WILLIAM VOGEL , the above-named defendant, who is accused of

 

Parading, Demonstrating, or Picketing in a Capitol Building,
40:5104(e)(2)(G)

being advised of the nature of the charge(s), the proposed information, and of my rights, hereby

waive in open court on February 1, 2023 prosecution by indictment and consent that

 

the proceeding may be by information rather than by indictment.

Yah weal

Defendant

EE

—

Comeel for Defendant

Before: Cal» Kub- Katey Date: 2/1/2023

COLLEEN KOLLAR-KOTELLY

United States District Judge
